Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 1 of 22




EXHIBIT 1
      Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 2 of 22




                                       Curriculum Vita
                               Stephen B. Levine, M.D.
I)       Brief Introduction
    Dr. Levine is Clinical Professor of Psychiatry at Case Western Reserve University School of
Medicine. He is the solo author of four books, Sex Is Not Simple in 1989 (translated to German
in 1992 and reissued in English in 1997 as Solving Common Sexual Problems): Sexual Life: A
clinician's guide in 1992; Sexuality in Midlife in 1998 and Demystifying Love: Plain talk for the
mental health professional in 2006; Barriers to Loving: A clinician's perspective in October
2013. He is the Senior Editor of the first (2003), second (2010) and third (2016) editions of the
Handbook of Clinical Sexuality for Mental Health Professionals. Psychotherapeutic Approaches
to Sexual Problems: An Essential Guide For Mental Health Professionals will be published in the
fall 2019.He has been teaching, providing clinical care, and writing since 1973 and has generated
original research, invited papers, commentaries, chapters, and book reviews. He has served as a
journal manuscript and book prospectus reviewer for many years. He was co-director of the
Center for Marital and Sexual Health/ Levine, Risen & Associates, Inc. in Beachwood, Ohio
from 1992-2017. He and two colleagues received a lifetime achievement Masters and Johnson's
Award from the Society for Sex Therapy and Research in March 2005.
II)      Personal Information
        A) Date of birth 1/14/42, Married 1963
        B) Medical license no. Ohio 35-03-0234-L
        C) Board Certification 6/76 American Board of Neurology and Psychiatry
        D) Office-23425 Commerce Park, Beachwood, Ohio 44122-5402 phone 216-831-2900
                x 13 fax 216-831-4306
        E) Home-6415 Gates Mills Boulevard, Mayfield Heights, Oh 44124 440-442-2622; fax
                216-831-4306
III)      Education
        A) 1963 BA Washington and Jefferson College
        B) 1967 MD Case Western Reserve University School of Medicine
        C) 1967-68 internship in Internal Medicine University Hospitals of Cleveland
        D) 1968-70 Research associate, National Institute of Arthritis and Metabolic Diseases,
                Epidemiology Field Studies Unit, Phoenix, Arizona, United States Public Health
                Service
        E) 1970-73 Psychiatric Residency, University Hospitals of Cleveland
        F) 1974-77 Robert Wood Johnson Foundation Clinical Scholar
IV)       Appointments at Case Western Reserve University School of Medicine
        A) 1973- Assistant Professor of Psychiatry
         m
        C) 1982-Tenure
        D) 1985-Full Professor
         E) 1993-Clinical Professor
V)        Honors

                                          Page 1 of 21
     Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 3 of 22




      A) Summa Cum Laude, Washington & Jefferson
      B) Teaching Excellence Award-1990 and 2010 (residency program)
      C) Visiting Professorships
             1) Stanford University-Pfizer Professorship program (3 days)-1995
             2) St. Elizabeth's Hospital, Washington, DC -1998
             3) St. Elizabeth's Hospital, Washington, DC—2002
      D) Named to America's Top Doctors consecutively since 2001
      E) Invitations to present various Grand Rounds at Departments of Psychiatry and
             Continuing Education Lectures and Workshops
      F) Masters and Johnson Lifetime Achievement Award from the Society of Sex Therapy
             and Research, April 2005 along with Candace Risen and Stanley Althof
      G) 2006 SSTAR Book Award for The Handbook of Clinical Sexuality for Mental
             Health Professionals: Exceptional Merit
      H) 2018—Albert Marquis Lifetime Achievement Award from Marquis Who's Who.
             (exceling in one's field for at least twenty years)
VI)    Professional Societies
      A) 1971- American Psychiatric Association; fellow; #19909
      B) 2005-American Psychiatric Association- Distinguished Life Fellow
      C) 1973- Cleveland Psychiatric Society
      D) 1973-Cleveland Medical Library Association
             1) 1985-Life Fellow
             2) 2003 Distinguished Life Fellow
      E) 1974-Society for Sex Therapy and Research
             1) 1987-89-President
      F) 1983- International Academy of Sex Research
      G) 1983- Harry Benjamin International Gender Dysphoria Association
             1) 1997-8 Chairman, Standards of Care Committee
      H) 1994- 1999 Society for Scientific Study of Sex
VII)   Community Boards
      A) 1999-2002Case Western Reserve University Medical Alumni Association
      B) 1996-2001 Bellefaire Jewish Children's Bureau
      C) 1999-2001 Physicians' Advisory Committee, The Gathering Place (cancer
             rehabilitation)
VIII) Editorial Boards
      A) 1978-80 Book Review Editor Journal Sex and Marital Therapy
      B) Manuscript Reviewer for
             1) Archives of Sexual Behavior
             2) Annals of Internal Medicine
             3) British Journal of Obstetrics and Gynecology
             4) JAMA
             5) Diabetes Care
             6) American Journal of Psychiatry
             7) Maturitas


                                      Page 2 of 21
      Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 4 of 22




             8) Psychosomatic Medicine
             9)     Sexuality and Disability
             10)    Journal of Nervous and Mental Diseases
             11)    Journal of Neuropsychiatry and Clinical Neurosciences
             12)    Neurology
             13)    Journal Sex and Marital Therapy
             14)    Journal Sex Education and Therapy
             15)    Social Behavior and Personality: an international journal (New Zealand)
             16)    International Journal of Psychoanalysis
             17)    International Journal of Transgenderism
             18)    Journal of Urology
             19)    Journal of Sexual Medicine
             20)    Current Psychiatry
             21)    International Journal of Impotence Research
             22)    Postgraduate medical journal
             23)    Academic Psychiatry

      C) Prospectus Reviewer
           1) Guilford
           2) Oxford University Press
           3) Brunner/Routledge
            4) Routledge

IX)    Administrative Responsibilities
      A) Co-director, Center for Marital and Sexual Health/ Levine, Risen & Associates, Inc.
             until June 30, 2017
      B) Principal Investigator of approximately 70 separate studies involving
             pharmacological interventions for sexual dysfunction since 1989.
      C) Co-leader of case conferences at DELRLLC.com
X)     Recent Expert Witness Appearances
       A) US District Court, Judge Mark L.Wolf s witness in Michelle Kosilek vs.
          Massachusetts Dept of Corrections et al. case (transsexual issue) in Boston 2007
       B) Deposition in the Battista vs. Massachusetts Dept of Corrections case (transsexual
          issue) in Cleveland October 2009
       C) Witness for Massachusetts Dept. of Corrections in their defense of a lawsuit brought
          by prisoner Katheena Soneeya. March 22, 2011 Deposition in Boston and October
          2018 in Cleveland
       D) Witness for State of Florida vs. Reyne Keohane July 2017
XI)    Consultancy
       A) Massachusetts Department of Corrections—evaluation of 12 transsexual prisoners
          and the development of a Gender Identity Disorders Program for the state prison
          system. Monthly consultation with the GID treatment team since February 2009 and
          the GID policy committee since February 2010
       B) California Department of Corrections and Rehabilitation; 2012-2015; education,

                                        Page 3 of 21
       Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 5 of 22




           inmate evaluation, commentary on inmate circumstances, suggestions on future
           policies
        C) Virginia Department of Corrections -evaluation of an inmate
        D) New Jersey Department of Corrections—evaluation of an inmate
        E) Idaho Department of Corrections—workshop 2016
XII)    Grant Support/Research Studies
       A) TAP-studies of Apomorphine sublingual in treatment of erectile dysfunction
       B) Pfizer-Sertraline for premature ejaculation
       C) Pfizer-Viagra and depression; Viagra and female sexual dysfunction; Viagra as a
              treatment for SSRI-induced erectile dysfunction
       D) NIH- Systemic lupus erythematosis and sexuality in women
       E) Sihler Mental Health Foundation
              1) Program for Professionals
              2) Setting up of Center for Marital and Sexual Health
              3) Clomipramine and Premature ejaculation
              4) Follow-up study of clergy accused of sexual impropriety
              5) Establishment of services for women with breast cancer
       F) Alza-controlled study of a novel SSRI for rapid ejaculation
       G) Pfizer-Viagra and self-esteem
       H) Pfizer- double-blind placebo control studies of a compound for premature ejaculation
       I) Johnson & Johnson - controlled studies of Dapoxetine for rapid ejaculation
       J) Proctor and Gamble: multiple studies to test testosterone patch for post menopausal
              sexual dysfunction for women on and off estrogen replacement
       K) Lilly-Icos—study of Cialis for erectile dysfunction
       L) VIVUS - study for premenopausal women with FSAD
       M) Palatin Technologies- studies of bremelanotide in female sexual dysfunction—first
              intranasal then subcutaneous administration
       N) Medtap - interview validation questionnaire studies
       O) HRA- quantitative debriefing study for Female partners os men with premature
              ejaculation, Validation of a New Distress Measure for FSD,
       P) Boehringer-Ingelheim- double blind and open label studies of a prosexual agent for
              hypoactive female sexual desire disorder
       Q) Biosante- studies of testosterone gel administration for post menopausal women with
              HSDD
       R) J&J a single-blind, multi-center, in home use study to evaluate sexual enhancement
              effects of a product in females.
       S) UBC-Content validity study of an electronic FSEP-R and FSDS-DAO and usability
              of study PRO measures in premenopausal women with FSAD, HSDD or Mixed
              FSAD,/HSDD
       T) National registry trial for women with HSDD
       U) Endoceutics—two studies of DHEA for vaginal atrophy and dryness in post
              menopausal women
       V) Palatin—study of SQ Bremelanotide for HSDD and FSAD


                                        Page 4 of 21
      Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 6 of 22




      W) Trimel- a double-blind, placebo controlled study for women with acquired female
            orgasmic disorder.
      X) SI Biopharma- a phase 1-B non-blinded study of safety, tolerability and efficacy of
            Lorexys in premenopausal women with HSDD
      Y) HRA - qualitative and cognitive interview study for men experiencing PE
XIII) Publications
      A) Books
            1) Pariser SR, Levine SB, McDowell M (eds.), Clinical Sexuality. Marcel Dekker,
                    New York, 1985
            2) Sex Is Not Simple. Ohio Psychological Publishing Company, 1988
                    (a)    Translated into German as Angstfreie Sexualitat: Gluck und
                           Erfullung in der Liebe. Wilhelm Heyne Verlag, Muchen, 1992
                    (b)    Reissued in paperback as: Solving Common Sexual Problems:
                           Toward a Problem Free Sexual Life. Jason Aronson, Livingston,
                           NJ. 1997
            3) Sexual Life: A Clinician's Guide. Plenum Publishing Corporation. New York,
                    1992
                    (a)     See review in Archives of Sexual Behavior 28(4): 361-363,1999
            4) Sexuality in Midlife. Plenum Publishing Corporation. New York, 1998
                    (a)     See review in Am Journal of Psychiatry 156((9):1468, 1999
                    (b)     See review in Contemporary Psychology APA Review of Books
                            44(4):293-295, 1999
                    (c)     See review J Sex Education and Therapy January, 2000
                    (d)     See review J Sex and Marital Therapy, Winter, 2000
            5) Editor. Clinical Sexuality. Psychiatric Clinics of North America, March, 1995.
            6) Editor, (Candace Risen and Stanley Althof, associate editors) Handbook of
                    Clinical Sexuality for Mental Health Professionals. Routledge, New York,
                    2003
                    1. see review American Journal of Psychiatry April, 2005
                    2. 2006 SSTAR Book Award: Exceptional Merit
                    3. see review in Archives of Sexual Behavior 35(6):757-758
                    4. see two reviews in Journal of Sex and Marital Therapy 33(3):272-276
           7) DemvstifVing Love: Plain Talk For The Mental Health Professional.
               Routledge, New York, 2006
               (a) See review in Psychiatric Times, August 2008 by Leonore Tiefer
               (b) See review in Journal of Sex and Marital Therapy 34(5)-459-460.
           8) Senior editor, (Candace B. Risen and Stanley E. Althof, Associate editors),
               Handbook of Clinical Sexuality for Mental Health Professionals. 2nd edition
               Routledge, New York, 2010. See review7 by Pega Ren, JSex&Marital Therapy
           9) Barriers to Loving: A Clinician's Perspective. Routledge, New York, 2014.
           10) Senior editor Candace B. Risen and Stanley E. Althof, Associate editors),
               Handbook of Clinical Sexuality for Mental Health Professionals. 3rd edition
               Routledge, New York, 2016


                                        Page 5 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 7 of 22




 B) Research and Invited Papers When his name is not listed in a citation, Dr. Levine
      is either the solo or the senior author
      I) Sampliner R. Parotid enlargement in Pima Indians. Annals of Internal Medicine
              1970; 73:571-73
'     2) Confrontation and residency activism: A technique for assisting residency
              change: World Journal of Psychosynthesis 1974; 6: 23-26
      3) Activism and confrontation: A technique to spur reform. Resident and Intern
              Consultant 173; 2
      4) Medicine and Sexuality. Case Western Reserve Medical Alumni Bulletin
              1974:37:9-11.
      5) Some thoughts on the pathogenesis of premature ejaculation. J. Sex & Marital
              Therapy 1975; 1:326-334
      6) Marital Sexual Dysfunction: Introductory Concepts. Annals of Internal
               Medicine 1976;84:448-453
      7) Marital Sexual Dysfunction: Ejaculation Disturbances 1976; 84:575-579
      8) Yost MA: Frequency of female sexual dysfunction in a gynecology clinic: An
              epidemiological approach. Archives of Sexual Behavior 1976;5:229-238
      9) Engel IM, Resnick PJ, Levine SB: Use of programmed patients and videotape
               in teaching medical students to take a sexual history. Journal of Medical
               Education 1976;51:425-427
      10)      Marital Sexual Dysfunction: Erectile dysfunction. Annals of Internal
               Medicine 1976;85:342-350
       II)     Articles in Medical Aspects of Human Sexuality
               (a)     Treating the single impotent male. 1976; 10:123, 137
               (b)     Do men enjoy being caressed during foreplay as much as women
                       do? 1977; 11:9
               (c)     Do men like women to be sexually assertive? 1977;11:44
               (d)     Absence of sexual desire in women: Do some women never
                       experience sexual desire? Is this possibility genetically
                       determined? 1977; 11:31
               (e)     Barriers to the attainment of ejaculatory control. 1979; 13:32-56.
               (f)     Commentary on sexual revenge.1979;13:19-21
               (g)     Prosthesis for psychogenic impotence? 1979;13:7
               (h)     Habits that infuriate mates. 1980;14:8-19
               (i)     Greenberger-Englander, Levine SB. Is an enema an erotic
                       equivalent?1981; 15:116
               (j)     Ford AB, Levine SB. Sexual Behavior and the Chronically 111
                       Patients. 1982; 16:138-150
               (k)     Preoccupation with wife's sexual behavior in previous marriage
                       1982; 16:172
               (1)     Co-existing organic and psychological impotence. 1985;19:187-8
               (m) Althof SE, Turner LA, Kursh ED, Bodner D, Resnick MI, Risen
                       CB. Benefits and Problems with Intracavernosal injections for the

                                  Page 6 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 8 of 22




                    treatment of impotence. 1989;23(4):38-40
      12)   Male Sexual Problems. Resident and Staff Physician 1981:2:90-5
      13)   Female Sexual Problems. Resident and Staff Physician 1981:3:79-92
      14)   How can I determine whether a recent depression in a 40 year old married
            man is due to organic loss of erectile function or whether the depression is
            the source of the dysfunction? Sexual Medicine Today 1977;1:13
      15)   Corradi RB, Resnick PJ Levine SB, Gold F. For chronic psychologic
            impotence: sex therapy or psychotherapy? I & II Roche Reports; 1977
      16)   Marital Sexual Dysfunction: Female dysfunctions 1977; 86:588-597
      17)   Current problems in the diagnosis and treatment of psychogenic
            impotence. Journal of Sex & Marital Therapy 1977;3:177-186
      18)   Resnick PJ, Engel IM. Sexuality curriculum for gynecology residents.
            Journal of Medical Education 1978; 53:510-15
      19)   Agle DP. Effectiveness of sex therapy for chronic secondary psychological
            impotence Journal of Sex & Marital Therapy 1978;4:235-258
      20)   DePalma RG, Levine SB, Feldman S. Preservation of erectile function
            after aortoiliac reconstruction. Archives of Surgery 1978;113-958-962
      21)   Conceptual suggestions for outcome research in sex therapy Journal of Sex
            & Marital Therapy 1981;6:102-108
      22)   Lothstein LM. Transsexualism or the gender dysphoria syndrome. Journal
            of Sex & Marital Therapy 1982; 7:85-113
      23)   Lothstein LM, Levine SB. Expressive psychotherapy with gender
            dysphoria patients Archives General Psychiatry 1981; 38:924-929
      24)   Stern RG Sexual function in cystic fibrosis. Chest 1982; 81:422-8
      25)   Shumaker R. Increasingly Ruth: Towards understanding sex reassignment
            surgery Archives of Sexual Behavior 1983;12:247-61
      26)   Psychiatric diagnosis of patients requesting sex reassignment surgery.
            Journal of Sex & Marital Therapy 1980; 6:164-173
      27)   Problem solving in sexual medicine I. British Journal of Sexual Medicine
            1982;9:21-28
      28)   A modern perspective on nymphomania. Journal of Sex & Marital
            Therapy 1982;8:316-324
      29)   Nymphomania. Female Patient 1982;7:47-54
      30)    Commentary on Beverly Mead's article: When your patient fears
             impotence. Patient Care 1982;16:135-9
      31)   Relation of sexual problems to sexual enlightenment. Physician and
            Patient 1983 2:62
      32)   Clinical overview of impotence. Physician and Patient 1983; 8:52-55.
      33)   An analytical approach to problem-solving m sexual medicine: a clinical
             introduction to the psychological sexual dysfunctions. EL British Journal of
             Sexual Medicine
      34)    Coffman CB, Levine SB, Althof SE, Stern RG Sexual Adaptation among
             single young adults with cystic fibrosis. Chest 1984;86:412-418


                                Page 7 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 9 of 22




      35)   Althof SE, Coffman CB, Levine SB. The effects of coronary bypass in
            female sexual, psychological, and vocational adaptation. Journal of Sex &
            Marital Therapy 1984;10:176-184
      36)   Letter to the editor: Follow-up on Increasingly Ruth. Archives of Sexual
            Behavior 1984;13:287-9
      37)   Essay on the nature of sexual desire Journal of Sex & Marital Therapy
            1984; 10:83-96
      38)   Introduction to the sexual consequences of hemophilia. Scandanavian
            Journal of Haemology 1984; 33:(supplement 40).75-
      39)   Agle DP, Heine P. Hemophila and Acquired Immune Deficiency
            Syndrome: Intimacy and Sexual Behavior. National Hemophilia
            Foundation; July, 1985
            (a)     Translated into German
            (b)     Translated into Spanish
      40)   Turner LA, Althof SE, Levine SB, Bodner DR, Kursh ED, Resnick MI.
            External vacuum devices in the treatment of erectile dysfunction: a one-
            year study of sexual and psychosocial impact. Journal of Sex & Marital
            Therapy
      41)   Schein M, Zyzanski SJ, Levine SB, Medalie JH, Dickman RL, Alemagno
            SA. The frequency of sexual problems among family practice patients.
            Family Practice Research Journal 1988; 7:122-134
      42)   More on the nature of sexual desire. Journal of Sex & Marital Therapy
            1987;13:35-44
      43)   Waltz G, Risen CB, Levine SB. Antiandrogen treatment of male sex
            offenders. Health Matrix 1987; V.51-55.
      44)   Lets talk about sex. National Hemophilia Foundation January, 1988
      45)    Sexuality, Intimacy, and Hemophilia: questions and answers . National
            Hemophilia Foundation January, 1988
      46)    Prevalence of sexual problems. Journal Clinical Practice in Sexuality
             1988;4:14-16.
      47)    Kursh E, Bodner D, Resnick MI, Althof SE, Turner L, Risen CB, Levine
             SB. Injection Therapy for Impotence. Urologic Clinics of North America
             1988; 15(4):625-630
      48)    Bradley SJ, Blanchard R, Coates S, Green R, Levine S, Meyer-Bahlburg
             H, Pauly I, Zucker KJ. Interim report of the DSM-IV Subcommittee for
             Gender Identity Disorders. Archives of Sexual Behavior
             1991;;20(4):333-43.
      49)    Sexual passion in mid-life. Journal of Clinical Practice in Sexuality 1991
            £/o\.n 1n
            \jyo ). LJ-LJ

      50)   Althof SE, Turner LA, Levine SB, Risen CB, Bodner DR, Resnick MI.
            Intracavernosal injections in the treatment of impotence: A prospective
            study of sexual, psychological, and marital functioning. Journal of Sex &
            Marital Therapy 1987; 13:155-167


                                Page 8 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 10 of 22




      51)     Althof SE, Turner LA, Risen CB, Bodner DR, Kursh ED, Resnick MI.
              Side effects of self-administration of intracavernosal injection of
              papaverine and phentolamine for treatment of impotence. Journal of
              Urology 1989;141:54-7
      52)     Turner LA, Froman SL, Althof SE, Levine SB, Tobias TR, Kursh ED,
              Bodner DR. Intracavernous injection in the management of diabetic
              impotence. Journal of Sexual Education and Therapy 16(2):126-36, 1989
      53)     Is it time for sexual mental health centers? Journal of Sex & Marital
              Therapy 1989;
       54)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner D, Kursh ED,
              Resnick MI. Sexual, psychological, and marital impact of self injection of
              papaverine and phentolamine: a long-term prospective study. Journal of
              Sex & Marital Therapy
       55)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner D, Kursh ED,
              Resnick MI. Why do so many men drop out of intracavernosal treatment?
               Journal of Sex & Marital Therapy. 1989;15:121-9
       56)    Turner LA, Althof SE, Levine SB, Risen CB, Bodner D, Kursh ED,
              Resnick MI. Self injection of papaverine and phentolamine in the
              treatment of psychogenic impotence. Journal of Sex & Marital Therapy.
              1989; 15(3):163-78
       57)    Turner LA, Althof SE, Levine SB, Risen CB, Bodner D, Kursh ED,
              Resnick MI. Treating erectile dysfunction with external vacuum devices:
              impact upon sexual, psychological, and marital functioning. Journal of
               Urology 1990;141(l):79-82
       58)    Risen CB, Althof SE. An essay on the diagnosis and nature of paraphilia
              Journal of Sex & Marital Therapy 1990; 16(2):89-102.
       59)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
              Resnick ML Through the eyes of women: the sexual and psychological
               responses of women to their partners' treatment with self-injection or
               vacuum constriction therapy. International Journal of Impotence Research
               (supplement 2)1990;346-7.
       60)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
               Resnick ML A comparison of the effectiveness of two treatments for
               erectile dysfunction: self injection vs. external vacuum devices..
               International Journal of Impotence Research (supplement 2)1990;289-90
       61)     Kursh E, Turner L, Bodner D, Althof S, Levine S. A prospective study on
               the use of the vacuum pump for the treatment of impotence.International
               Journal of Impotence Research (supplement 2)1990;340-1.
               AUU„f CC TT          T A T             CD           PT)     F\I5 Fi.rnli
       UZ,)   /Aiuiui oo, i uiJLici .Lv^ri.,   v 11iv ojj, ivxav^n V^AJ,   L/xj, vvUrSii t^U,
              Resnick MI. Long term use of intracavernous therapy in the treatment of
              erectile dysfunction in Journal of Sex & Marital Therapy 1991; 17(2):101­
              112
       63)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,


                                      Page 9 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 11 of 22




             Resnick MI. Long term use of vacuum pump devices in the treatment of
             erectile dsyfunction in Journal of Sex & Marital Therapy 1991;17(2):81-93
      64)    Turner LA, Althof SE, Levine SB, Bodner DB, Kursh ED, Resnick ML A
             12-month comparison of the effectiveness of two treatments for erectile
             dysfunction: self injection vs. external vacuum devices. Urology
             1992;39(2):139-44
      65)    Althof SE, The pathogenesis of psychogenic impotence. J. Sex Education
             and Therapy. 1991; 17(4):251-66
      66)    Mehta P, Bedell WH, Cumming W, Bussing R, Warner R, Levine SB.
             Letter to the editor. Reflections on hemophilia camp. Clinical Pediatrics
             1991; 30(4):259-260
      67)    Successful Sexuality. Belonging/Hemophilia. (Caremark Therapeutic
             Services), Autumn, 1991
      68)    Psychological intimacy. Journal of Sex & Marital Therapy 1991;
             17(4):259-68
      69)    Male sexual problems and the general physician, Georgia State Medical
             Journal 1992; 81(5): 211-6
      70)    Althof SE, Turner LA, Levine SB, Bodner DB, Kursh E, Resnick MI.
             Through the eyes of women: The sexual and psychological responses of
             women to their partner's treatment with self-injection or vacuum
             constriction devices. Journal of Urology 1992; 147(4):1024-7
      71)    Curry SL, Levine SB, Jones PK, Kurit DM. Medical and Psychosocial
             predictors of sexual outcome among women with systemic lupus
             erythematosis. Arthritis Care and Research 1993; 6:23-30
       72)   Althof SE, Levine SB. Clinical approach to sexuality of patients with
             spinal cord injury. Urological Clinics of North America 1993; 20(3):527-
             34
       73)   Gender-disturbed males. Journal of Sex & Marital Therapy 19(2):131-141,
             1993
       74)   Curry SL, Levine SB, Jones PK, Kurit DM. The impact of systemic lupus
             erythematosis on women's sexual functioning. Journal of Rheumatology
             1994; 21(12):2254-60
       75)   Althof SE, Levine SB, Corty E, Risen CB, Stern EB, Kurit D.
             Clomipramine as a treatment for rapid ejaculation: a double-blind
             crossover trial of 15 couples. Journal of Clinical Psychiatry
             1995;56(9):402-7
       76)   Risen CB, Althof SE. Professionals who sexually offend: evaluation
             procedures and preliminary findings. Journal of Sex & Marital Therapy
             1994; 20(4):288-302
       77)    On Love, Journal of Sex & Marital Therapy 1995; 21(3):183-191
       78)    What is clinical sexuality? Psychiatric Clinics of North America 1995;
              18(1):1-6
       79)   "Love" and the mental health professions: Towards an understanding of


                                Page 10 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 12 of 22




             adult love. Journal of Sex & Marital Therapy 1996; 22(3)191-202
             (a)     Reprinted in Issues in Human Sexuality: Current & Controversial
                     Readings with Links to Relevant Web Sites, 1998-9, Richard
                     Blonna, Editor, Engelwood, Co. Morton Publishing Company,
                     1998
      80)    The role of Psychiatry in erectile dysfunction: a cautionary essay on the
             emerging treatments. Medscape Mental Health 2(8):1997 on the Internet.
             September, 1997.
       81)   Discussion of Dr. Derek Polonsky's SSTAR presentation on
             Countertransference. Journal of Sex Education and Therapy 1998;
             22(3):13-17
       82)   Understanding the sexual consequences of the menopause. Women's
             Health in Primary Care, 1998
             (a)     Reprinted in the International Menopause Newsletter
       83)   Fones CSL, Levine SB. Psychological aspects at the interface of diabetes
             and erectile dysfunction. Diabetes Reviews 1998; 6(1):1-8
       84)   Guay AT, Levine SB, Montague DK. New treatments for erectile
             dysfunction. Patient Care March 15, 1998
       85)   Extramarital Affairs. Journal of Sex & Marital Therapy 1998; 24(3):207-
             216
       86)   Levine SB (chairman), Brown G, Cohen-Kettenis P, Coleman E, Hage JJ,
             Petersen M, Pfafflin F, Shaeffer L, vanMasdam J, Standards of Care of
             the Harry Benjamin International Gender Dysphoria Association, 5th
             revision, 1998. International Journal of Transgenderism at
             http://www.symposion.com/ijt
             (a)     Reprinted by the Harry Benjamin International Gender Dysphoria
                     Association, Minneapolis, Minnesota
             (b)     also published in:
       87)   Althof SE, Corty E, Levine SB, Levine F, Burnett A, McVary K, Stecher
             V, Seftel. The EDITS: the development of questionnaires for evaluating
             satisfaction with treatments for erectile dysfunction. Urology 1999;53:793-
             799
       88)   Fones CSL, Levine SB, Althof SE, Risen CB. The sexual struggles of 23
             clergymen: a follow-up study. Journal of Sex & Marital Therapy 1999
       89)   The Newly Devised Standards of Care for Gender Identity Disorders.
             Journal of Sex Education and Therapy 24(3):1-11,1999

       90)   Levine, S. B. (1999). The newly revised standards of care for gender
             identity disorders. Journal of Sex Education & Therapy, 24, 117-127.

       91)   Melman A, Levine SB, Sachs B, Segraves RT, Van Driel MF.
             Psychological Issues in Diagnosis of Treatment (committee 11) in Erectile
             Dysfunction (A.Jarden, G.Wagner, S.Khoury, F. Guiliano, H.Padma-


                                Page 11 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 13 of 22




            nathan, R. Rosen, eds.) Plymbridge Distributors Limited, London, 2000
       92)  Pallas J, Levine SB, Althof SE, Risen CB. A study using Viagra in a
            mental health practice. J Sex&Marital Therapy.26f 1):41-50. 2000
       93)  Levine SB, Stagno S. Informed Consent for Case Reports: the ethical
            dilemma between right to privacy and pedagogical freedom. Journal of
            Psychotherapy: Practice and Research, 2001, 10 (3): 193-201.
       94)  Alloggiamento T., Zipp C., Raxwal VK, Ashley E, Dey S. Levine SB,
            Froelicher VF. Sex, the Heart, and Sildenafil. Current Problems in
            Cardiology 26 June 2001(6):381-416
       95)  Re-exploring The Nature of Sexual Desire. Journal of Sex and Marital
            Therapy 28(1):39-51, 2002.
       96)  Understanding Male Heterosexuality and Its Disorders in Psychiatric
            Times XIX(2):13-14, February, 2002
       97)  Erectile Dysfunction: Why drug therapy isn't always enough. (2003)
            Cleveland Clinic Journal of Medicine, 70(3): 241-246.
       98)  The Nature of Sexual Desire: A Clinician's Perspective. Archives of
            Sexual Behavior 32(3):279-286, 2003 .
       99)  Laura Davis. What I Did For Love: Temporary Returns to the Male
            Gender Role. International Journal of Transgenderism, 6(4), 2002 and
            http://www.svmposion.com/iit
       100) Risen C.B., The Crisis in the Church: Dealing with the Many Faces of
            Cultural Hysteria in The International Journal of Applied Psychoanalytic
            Studies, l(4):364-370, 2004
       101) Althof SE, Leiblum SR (chairpersons), Chevert-Measson M. Hartman U.,
            Levine SB, McCabe M., Plaut M, Rodrigues O, Wylie K., Psychological
            and Interpersonal Dimensions of Sexual Function and Dysfunction in
            World Health Organization Conference Proceedings on Sexual
            Dysfunctions, Paris, 2003. Published in a book issued in 2004.
       102) Commentary on Ejaculatory Restrictions as a Factor in the Treatment of
            Haredi (Ultra-Orthodox) Jewish Couples: How Does Therapy Work?
            Archives of Sexual Behavior, 33(3):June 2004
       103) What is love anyway? J Sex & Marital Therapy 31(2):143-152,2005.
       104) A Slightly Different Idea, Commentary on Y.M.Binik's Should
            Dyspareunia Be Retained as a Sexual Dysfunction in DSM-V? A Painful
            Classification Decision. Archives of Sexual Behavior 34(l):38-39, 2005.
              http://dx.doi.org/l 0.1007/s10508-005-7469-3
       105)   Commentary. Pharmacologic Treatment of Erectile Dysfunction: Not
              always a simple matter. BJM USA; Primary Care Medicine for the
              American Physician, 4(6):325-326, July 2004
       106)   Leading Comment: A Clinical Perspective on Infidelity. Journal of Sexual
              and Relationship Therapy, 20(2):143-153, May 2005.
       107)   Multiple authors. Efficacy and safety of sildenafil citrate (Viagra) in men
              with serotonergic antidepressant-associated erectile dysfunction: Results
              from a randomized, double-blind, placebo-controlled trial. Submitted to

                                    Page 12 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 14 of 22




              Journal of Clinical Psychiatry Feb 2005
       108)   Althof SE, Leiblum SR, Chevert-Measson M, Hartman U,Levine
              SB,McCabe M, Plaut M, Rodrigues O, Wylie K. Psychological and
              Interpersonal Dimensions of Sexual Function and Dysfunction. Journal of
              Sexual Medicine, 2(6): 793-800, November, 2005
       109)   Shifren JL, Davis SR, Moreau M, Waldbaum A, Bouchard C., DeRogatis
              L., Derzko C., Bearnson P., Kakos N., O'Neill S., Levine S., Wekselman
              K., Buch A., Rodenberg C., Kroll R. Testosterone Patch for the Treatment
              of Hypoactive Sexual Desire Disorder in Naturally Menopausal Women:
              Results for the INTIMATE NM1 Study. Menopause: The Journal of the
              North American Menopause Society 13(5) 2006.
       110)   Reintroduction to Clinical Sexuality. Focus: A Journal of Lifelong
              Learning in Psychiatry Fall 2005. Ill (4):526-531
       111)   PDE-5 Inhibitors and Psychiatry in J Psychiatric Practice 12 (1): 46-49,
              2006.
       112)   Sexual Dysfunction: What does love have to do with it? Current
              Psychiatry 5(7):59-68, 2006.
       113)   How to take a Sexual History (Without Blushing), Current Psychiatry 5(8):
              August, 2006.
       114)   Linking Depression and ED: Impact on sexual function and relationships
              in Sexual Function and Men's Health Through the Life Cycle under the
              auspices of the Consortium for Improvement of Erectile Function
              (CIEF),12-19, November, 2006.
       115)   The First Principle of Clinical Sexuality. Editorial. Journal of Sexual
              Medicine,4:853-854, 2007
       116)   Commentary on David Rowland's editorial, "Will Medical Solutions to
              Sexual Problems Make Sexological Care and Science Obsolete?" Journal
              of Sex and Marital Therapy, 33(5), 2007 in press
       117)   Real-Life Test Experience: Recommendations for Revisions to the
               Standards of Care of the World Professional Association for Transgender
               Health.International Journal of Transgenderism, Volume 11 Issue 3, 186­
               193,2009
       118)    Sexual Disorders: Psychiatrists and Clinical Sexuality. Psychiatric Times
               XXIV (9), 42-43, August 2007
       119)    I am not a sex therapist! Commentary to I. Binik and M. Meana's article
               Sex Therapy: Is there a future in this outfit? Archives of Sexual Behavior,
               Volume 38, Issue 6 (2009), 1033-1034
       119)    Solomon A (2009) Meanings and Political Implications of
                                   ™ ^                                o
               l                   ill a vjcuut/i jAj&iiiuy 'OIJJUIC. xvv^puit ui iv/
              Journal of Sex and Marital Therapy 35(1): 40-57.
       120)   Perelman, MA., Levine SB, Fischkoff SA. Randomized, Placebo-
              Controlled, Crossover Study to Evaluate the Effects of Intranasal
              Bremelanotide on Perceptions of Desire and Arousal in Postmenopausal


                                 Page 13 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 15 of 22




               Women with Sexual Arousal Disorder submitted to Journal of Sexual
               Medicine July 2009, rejected
      121)     What is Sexual Addiction? Journal of Sex and Marital Therapy.2010
               May;36(3):261-75
      122)     David Scott (2010) Sexual Education of Psychiatric Residents.
               Academic Psychiatry, 34(5) 349-352.
      123)     Chris G. McMahon, Stanley E. Althof, Joel M. Kaufman, Jacques Buvat,
                Stephen B. Levine, Joseph W. Aquilina, Fisseha Tesfaye, Margaret
                Rothman, David A. Rivas, Hartmut Porst. Efficacy and Safety of
                Dapoxetine for the Treatment of Premature Ejaculation: Integrated
                Analysis of Results From 5 Phase 3 Trials Journal of Sexual Medicine
                2011 Feb;8(2):524-39.
      124)     Commentary on Consideration of Diagnostic Criteria for Erectile
                Dysfunction in DSM V. Journal of Sexual Medicine July 2010
      125)     Hypoactive Sexual Desire Disorder in Men: Basic types, causes, and
                treatment. Psychiatric Times 27(6)4-34. 2010
      126)     Male Sexual Dysfunctions, an audio lecture, American Physician Institute
                2013
       127)      Fashions in Genital Fashion: Where is the line for physicians?
               Commentary on David Veale and Joe Daniels' Cosmetic Clitoridectomy in
               a 33-year-old woman. Archives of Sexual Behavior, epub ahead of print
               Sept 24, 2011. Arch Sex Behav (2012) 41:735-736 DOI
               10.1007/sl0508-011-9849-7
       128)    Review: Problematic Sexual Excess. Neuropsychiatry 2(1):1-12, 2012
       129).   The Essence of Psychotherapy. Psychiatric Times 28 (2): August 2, 2012
               translated into Portuguese and republished in Revista Latinoamericana de
               Psicopatologia Fundamental (latin-American Journal of Fundamental
               Psychopathology) in press 2012. Reprinted by Psychiatric Times on July
               26, 2019 https://www.psychiatrictimes.com/articles/essence-
               psychotherapy
       130)    Parran TV, Pisman, AR, Youngner SJ, Levine SB.Evolution of
               remedial CME course in professionalism: Addressing learner needs,
               developing content, and evaluating outcomes. Journal of Continuing
               Education in the Health Professions, 33(3): 174-179, 2013.
       131)    Love and Psychiatry. Psychiatric Times November 2013
       132)    Orgasmic Disorders, Sexual Pain Disorders, and Sexual Dysfunction Due
               to a Medical Condition. Board Review Psychiatry 2013-2014 Audio
               Digest CD 27. Audio recording of a one-hour lecture available October
               OA 1 O
               Z,\JU.

       133) Towards a Compendium of the Psychopathologies of Love. Archives of
            Sexual Behavior Online First December 25, 2013 DOI 10.1007/sl 0508­
            013-0242-6 43(1)213-220.
       134) Flibanserin. (editorial) Archives of Sexual Behavior 44 (8), 2015


                                 Page 14 of 21
     Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 16 of 22




                     November 2015. DOI: 10.1007/s10508-015-0617-v
           135) Martel C, Labrie F, Archer DF, Ke Y, Gonthier R, Simard JN, Lavoie L,
           Vaillancourt M, Montesino M, Balser J, Moyneur E; other participating members
           of the Prasterone Clinical Research Group. (2016) Serum steroid concentrations
           remain within normal postmenopausal values in women receiving daily 6.5mg
           intravaginal prasterone for 12 weeks.J Steroid Biochem Mol Biol. 2016
           May;159:142-53. doi: 10.1016/j.jsbmb.2016.03.016
           136) Reflections of an Expert on the Legal Battles Over Prisoners with Gender
               Dysphoria. J Am Acad Psychiatry Law 44:236-45, 2016
           137) Cooper E, McBride J, Levine SB. Does Flibanserin have a future?
                Psychiatric Times accepted October 23, 2015.
           138 Levine SB, Sheridan DL, Cooper EB. The Quest for a Prosexual Medication
                for Women, Current Sexual Health Reports (2016) 8: 129.
                doi:10.1007/sll930-016-0085-y
           139) Why Sex Is Important: Background for Helping Patients with Their Sexual
                Lives., British Journal of Psychiatry Advances (2017), vol. 23(5)
                     300-306; DOI: 10.1192/apt.bp.l16.016428
            140) Flibanserin: Offene Forshungsfragen , Zeitschrift fur Sexualforschung. 29:
                 170-175, 2016. This is a translation of 134).
            141) Commentary on "Asexuality: Orientation, paraphilia, dysfunction, or none
                 of the above? Archives Sexual Behavior, Archives of Sexual Behavior April 2017,
                    Volume 46, Issue 3. pp 639-642 DOI: 10.1007/S10508-017-0947-Z
            142) Sexual Dysfunction in Clinical Psychiatry, Psychiatric Times, March 2017
            143) Ethical Concerns About the Emerging Treatment of Gender Dysphoria .
                  Journal of Sex and Marital Therapy, 44(l):29-44. 2017. DOI
                        10.1080/0092623X.2017.1309482
            144) The Psychiatrist's Role in Managing Transgender Youth: Navigating
                 Today's Politicized Terrain. CMEtoGO® Audio Lecture Series, May 2017
            145) Transitioning Back to Maleness, Archives of Sexual Behavior, 2017 Dec
               20. doi: 10.1007/sl0508-017-l 136-9. [Epub ahead of print]; 47(4), 1295-1300,
            May 2018
            146) Informed Consent for Transgender Patients, Journal of Sex and Marital
            Therapy, 2018 Dec 22:1-12. doi: 10.1080/0092623X.2018.1518885. [Epub ahead
            of print]
            147) Thinking about The Sexual History. (2019) Psychiatric Times, in press




C.       Chapters

                                          Page 15 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 17 of 22




          1. Overview of Sex Therapy. In Sholevar GP (ed) The Handbook of
               Marriage and Marital Therapy. New York. Spectrum Publications, 1981
               pp417-41
          2. Why study sexual functioning in diabetes? In Hamburg BA, Lipsett LF,
               Inoff GE, Drash A (eds) Behavioral & Psychosocial Issues in Diabetes:
               Proceedings of a National conference. Washington, DC. US Dept. of
               Health & Human Services. PHS NIH, Pub. #80-1933
          3. Sexual Problems in the Diabetic in Bleicher SJ, Brodoff B (eds) Diabetes
               Mellitus and Obesity. Williams and Wilkins, 1992
          4. Clinical Introduction to Human Sexual Dysfunction. In Pariser SF, Levine
               SB, McDowell M (eds) Clinical Sexuality. New York, Marcel Dekker
               Publisher, 1983.
          5. Psychodynamically-oriented clinician's overview of psychogenic
               impotence. In RT Segraves (ed) Impotence. New York, Plenum, 1985
          6. Origins of sexual preferences. In Shelp EE (ed) Sexuality and Medicine.
               D. Reidel Publishing co. 1987. Pp39-54.
          7. Hypoactive Sexual Desire and Other Problems of Sexual Desire. In H. Lief
               (ed). The Treatment of Psychosexual Dysfunctions/ III. American
               Psychiatric Press, chapter 207.pp2264-79, 1989
          8.      Psychological Sexual Dysfunction. In Sudak H (ed) Clinical
               Psychiatry. Warren H. Green. St. Louis, 1985
          9.      Male sexual dysfunction. In Sudak H (ed) Clinical Psychiatry. Warren
               H. Green. St. Louis, 1985
         10. Sexuality and Aging. In Sudak H (ed) Clinical Psychiatry. Warren H.
               Green. St. Louis, 1985
         11. Homosexuality. In Sudak H (ed) Clinical Psychiatry. Warren H. Green. St.
               Louis, 1985
         12. Individual and intrapsychic factors in sexual desire. In Leiblum SR, Rosen
               RC (eds). Clinical Perspectives on Sexual Desire Disorders. Guilford
               Press, New York, 1988, pp21-44
         13. Gender Identity Disorders. In Sadock B, Kaplan H(eds). Comprehensive
               Textbook of Psychiatry, Baltimore, William and Wilkins, 1989, pp
               1061-9
         14. Intrapsychic and Interpersonal Aspects of Impotence: Psychogenic Erectile
               Dysfunction. In Leiblum SR, Rosen RC (eds). Erectile Disorders:
               Assessment and Treatment. Guilford Press, New York, 1992
         15. Psychological Factors in Impotence. In Resnick MI, Kursh ED, (eds.)
               Current Therapy in Genitourinary Surgery, 2nd edition. BC Decker, 1991,
               nnS4Q-S 1
         16. The Vagaries of Sexual Desire. In Leiblum SR, Rosen RC (eds). In Case
              Studies in Sex Therapy. Guilford Press, New York, 1995
         17. Rosenblatt EA. Sexual Disorders (chapter 62). In Tasman A, Kay J,
              Liberman JA (eds). Psychiatry Volume II, W.B.Saunders, Philadelphia.


                                Page 16 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 18 of 22




              1997, pp 1173-2000.
        18. Althof SE. Psychological Evaluation and Sex Therapy. In Mulcahy JJ
              (ed) Diagnosis and Management of Male Sexual Dysfunction Igaku-
              Shoin, New York, 1996, pp74-88
        19. Althof SE, Levine SB. Psychological Aspects of Erectile Dysfunction. In
              Hellstrum WJG (ed) Male Infertility and Dysfunction. Springer-Verlag,
              New York, 1997. pp 468-73
        20. Paraphilias. In Comprehensive Textbook of Psychiatry/VII. Sadock BJ,
              Sadock VA (eds.) Lippincott Williams & Wilkins, Baltimore, 1999,
              ppl631-1645.
        21. Women's Sexual Capacities at Mid-Life in The Menopause:
              Comprehensive Management B. Eskind (ed). Parthenon Publishing,
              Carnforth, UK, 2000.
        22. Male Heterosexuality in Masculinity and Sexuality:Selected Topics in the
              Psychology of Men, (Richard C. Friedman and Jennifer I. Downey, eds)
              Annual Review of Psychiatry, American Psychiatric Press, Washington,
              DC, W-18. pp29-54.
        23. R.T.Segraves. Introduction to section on Sexuality: Treatment of
              Psychiatric Disorders-Ill (G.O.Gabbard, ed), American Psychiatric Press,
              Washington, DC, 2001
        24. Sexual Disorders (2003) in Tasman A, Kay J, Liberman JA (eds).
              Psychiatry 2nd edition, Volume II, W.B.Saunders, Philadelphia. Chapter
              74
        25. What Patients Mean by Love, Psychological Intimacy, and Sexual Desire
              (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of Clinical
              Sexuality for Mental Health Professionals, Brunner-Routledge, New
              York, pp.21-36.
        26. Infidelity (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of
              Clinical Sexuality for Mental Health Professionals, Brunner-Routledge,
              New York, pp57-74
        27. Preface (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of
               Clinical Sexuality for Mental Health Professionals, Brunner-Routledge,
              New York, pp xiii-xviii
        28. A Psychiatric Perspective on Psychogenic Erectile Dysfunction (2004) in
               T.F. Lue (ed) Atlas of Male Sexual Dysfunction, Current Medicine,
               Philadelphia Chapter 5
        29. Levine, SB., Seagraves, RT. Introduction to Sexuality Section, Treatment
               of Psychiatric Disorders, 3rd edition (Gabbard GO, editor), American
               Dm       in + w   OfAnn   ^ f\f\^7
               ± sy\sLi.LaiLis~> x             /
         30. Risen CB, (2009)Professionals Who Are Accused of Sexual Boundary
              Violations In Sex Offenders: Identification, Risk Assessment, Treatment,
              and Legal Issues edited by Fabian M. Saleh, Albert J. Grudzinskas, Jr.,
              and John M. Bradford, Oxford University Press, 2009


                                         Page 17 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 19 of 22




         31. What Patients Mean by Love, Intimacy, and Sexual Desire, in Handbook
               of Clinical Sexuality for Mental Health Professionals edited by Levine
               SB, Risen, CB, and Althof, SE, Routledge, New York, 2010
         32. Infidelity in Handbook of Clinical Sexuality for Mental Health
               Professionals edited by Levine SB, Risen, CB, and Althof, SE,
               Routledge, New York, 2010
         33. Scott DL, Levine, SB. Understanding Gay and Lesbian Life in Handbook
               of Clinical Sexuality for Mental Health Professionals edited by Levine
               SB, Risen, CB, and Althof, SE, Routledge, New York, 2010
         34. Levine, SB, Hasan, S., Boraz M. (2009) Male Hypoactive Sexual Desire
               Disorder (HSDD) in Clinical Manual of Sexual Disorders (R. Balon and
               RT Segraves, eds), American Psychiatric Press, Washington, DC.
         35. Levine, SB. Sexual Disorders in Fundamentals of Psychiatry (by Allan
               Tasman and Wanda Mohr,eds.)
               <http://eu.wilev.com/WilevCDA/WilevTitle/productCd-
               0470665777.html>, .
         36. Infidelity in Principles and Practices of Sex Therapy (I Binik, K. Hall,
                editors), 5th edition, Guilford Press, New York, 2014.
         37. Why is Sex Important? In Handbook of Clinical Sexuality for Mental
                Health Professionals 3rd ed. [SB Levine, CB Risen, SE Althof, eds] New
                York. Routledge, 2016, Chapter 1
         38. The Rich Ambiguity of Key Terms: Making Distinctions. In Handbook of
                Clinical Sexuality for Mental Health Professionals 3rd ed. [SB Levine,
                CB Risen, SE Althof, eds] New York. Routledge, 2016. Chapter 4
         39. The Mental Health Professional's Treatment of Erection Problems . In
                Handbook of Clinical Sexuality for Mental Health Professionals 3rd ed.
                [SB Levine, CB Risen, SE Althof, eds] New York. Routledge, 2016
                Chapter 11
         40. Why is Sex Important? In Sexual Health in the Couple: Management of
                Sexual Dysfunction in Men and Women [L Lipshultz, A Pastuszak, M
                Perelman, A Giraldi, J Buster, eds.] New York, Springer, 2016.
         41. Sommers, B., Levine, S.B., Physician's Attitude Towards Sexuality
                Psychiatry and Sexual Medicine: A Comprehensive Guide for Clinical
                Practitioners, in press 2019
      42. Boundaries And The Ethics Of Professional Misconduct in A. Steinberg, J. L.
       Alpert, C A. Courtois( Eds.) Sexual Boundary Violations In
       Psychotherapy:Therapist Indiscretions, & Transgressions, & Misconduct
       American Psychological Association, In Press 2019



 C) Book Reviews
      1) Homosexualities: A Study of Diversity Among Men and Women by Alan P.


                                Page 18 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 20 of 22




             Bell and Martin S. Weinberg, Simon and Schuster, New York, 1978. In
             Journal of Sex & Marital Therapy 1979; 5:
      2) Marriage and Marital Therapies: Psychoanalytic, Behavioral & System Theory
             Perspectives by TJ Paolino and BS McCrady. Brunner/Mazel, New York,
             1978. In Journal of Sex & Marital Therapy 1979; 5:
      3) Management of Male Impotence. Volume 5 International Perspectives in
             Urology AH Bennett, (ed) Williams and Wilkins, Baltimore, 1992. In
             American Journal of Psychiatry, 1984
      4) The Sexual Relationship by DE Scharff, Routledge & Kegan Paul, 1982 in
             Family Process 1983;22:556-8
      5) Phenomenology and Treatment of Psychosexual Disorders, by WE Fann, I
             Karacan, AD Pokorny, RL Williams (eds). Spectrum Publications, New
             York, 1983. In American Journal of Psychiatry 1985;142:512-6
      6) The Treatment of Sexual Disorders: Concepts and Techniques of Couple
             Therapy, G Arentewicz and G Schmidt. Basic Books, New York, 1983. In
              American Journal of Psychiatry 1985;142:983-5
      7) Gender Dysphoria: Development, Research, Management. BN Steiner (ed).
             Plenum Press, 1985 in Journal of Clinical Psychiatry, 1986
      8)     Gender Dysphoria: Development, Research, Management. BN Steiner
             (ed). Plenum Press, 1985 in Contemporary Psychology 1986:31:421-2
             [titled, The Limitations of Science, the Limitations of Understanding]
      9)      Psychopharmacology of Sexual Disorders by M Segal (ed) John Libbey &
             Co Ltd, London, 1987 in American Journal of Psychiatry 1987;144:1093
      10)    "The Sissy Boy Syndrome" and the Development of Homosexuality by R
             Green. Yale University Press, New Haven, 1987. In American Journal of
             Psychiatry 1988;145:1028
      11)    Male Homosexuality: A contemporary psychoanalytic perspective by RC
             Friedman, Yale University Press, New Haven, 1988 in Journal of Clinical
             Psychiatry 1989;50:4, 149
      12)    Sexual Landscapes: Why we are what we are, why we love whom we love.
             By JD Weinrich, Charles Schribner's Sons, New York, 1987 in Archives
             of Sexual Behavior 21 (3):323-26, 1991
      13)    How to Overcome Premature Ejaculation by HS Kaplan, Brunner/Mazel,
             New York, 1989 in Journal of Clinical Psychiatry 51(3):130, 1990
      14)    Clinical Management of Gender Identity Disorders in Children and Adults
             R. Blanchard, BN Steiner (eds) American Psychiatry Press, Washington,
             DC, 1990. In Journal of Clinical Psychiatry 52(6):283, 1991
      15)    Psychiatric Aspects of Modern Reproductive Technologies. NL Stotland
             /    A mAffnnn t) r<T 7/-*U i n+vi A   nn   AA ^n ol-\ 1   rrf r\   1 \   1 OOH   Tn Tr\n    o 1 r\
                         iuaii x       ijuatnv x         vv aoiiiiigiAjii              LSS\J» XIX juuiiACii \JJL

             Clinical Psychiatry 1991;52(9):390
       16)   Homosexualities: Reality, Fantasy, and the Arts. CW Socarides, VD
             Volkan (eds). International Universities Press, Madison, Connecticut,
             1990. In Journal of Clinical Psychiatry 1992;(10)


                                      Page 19 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 21 of 22




      17)    Reparative Therapy of Male Homosexuality: A New Clinical Approach. J
             Nicolosi, Jason Aronson, Northvale NJ, 1992. In Contemporary
             Psychology 38(2):165-6, 1993 [entitled Is Evidence Required?]
      18)    Male Victims of Sexual Assault, GC Mezey, MB King (eds) Oxford
             University Press, New York, 1992. In Journal of Clinical Psychiatry
             1993;54(9):358,
      19)    AIDS and Sex: An Integrated Biomedical and Biobehavioral Approach. B
             Voeller, JM Reinisch, M Gottlieb, Oxford University Press, New York,
             1990. In American Journal of Psychiatry
      20)    Porn: Myths for the Twentieth Century by RJ Stoller, Yale University
             Press, New Haven, 1991. In Archives of Sexual Behavior 1995;24(6):663-
             668
      21)    Sexual Dysfunction: Neurologic, Urologic, and Gynecologic Aspects. R
             Lechtenberg, DA Ohl (eds) Lea & Febiger, Philiadelphia, 1994. In
             Neurology
       22)   The Sexual Desire Disorders: Dysfunctional Regulation of Sexual
             Motivation. HS Kaplan Brunner/Mazel, New York, 1995. In Neurology
             1996; 47:316
       23)   Femininities, Masculinities, Sexualities: Freud and Beyond. N. Chodorow.
             The University Press of Kentucky, Lexington, 1994. Archives of Sexual
             Behavior 28(5):397-400,1999
       24)   Sexual Function in People with Disability and Chronic Illness:A Health
             Professional's Guide by ML Sipski, CJ Alexander. Aspen Publishers,
             Gaitersburg, Md, 1997. In Journal of Sex Education and Therapy,
             1998;23(2):171-2
       25)   Sexual Aggression by J Shaw (ed). American Psychiatric Press,
             Washington, DC, 1998. In American Journal of Psychiatry, May, 1999
       26)   The Wounded Healer: Addiction-Sensitive Approach to the Sexually
             Exploitative Professional by Richard Irons and Jennifer P. Schneider.
             Jason Aronson, Northvale, N.J., 1999 in American Journal of Psychiatry
             157(5):8-9,2000.
       27)   Culture of the Internet by Sara Kiesler (editor), Lawrence Erlbaum
             Associates, Mahway, New Jersey, 1997. 463pp in Journal of Sex Research
             in press, 2001
       28)   Psychological Perspectives on Human Sexuality. Lenore T. Szuchman and
             Frank Muscarella (editors), Wiley and Sons, New York, American Journal
             of Psychiatry, April, 2002
       29)   "How Sexual Science Operates" a review of Sex, Love, and Health in
             Am    r* o • DriTjn+a                  Di iKIir* PAII^IOC    TH O T onmotin           T? T
                   IVCt. X HVCiUV V_/llV7iWO CU.HU X UU1XV X UliViCJ. X-/W A_yU.CtlAAd.llll U-11VI XV X


             Michael, editors. Chicago, University of Chicago, 2001 in Second
             Opinion, The Park Ridge Center for the Study of Health, Faith, and Ethics,
             11:82-3, April, 2004.
       30)   Sexual Orientation and Psychoanalysis: Sexual Science and Clinical


                                     Page 20 of 21
Case 3:19-cv-00575-VLB Document 24-1 Filed 11/06/19 Page 22 of 22




             Practice. R.C.Friedman and J.I. Downey (eds). New York. Columbia
             University Press, in Archives of Sexual Behavior (2003) 31(5):473-474
      31)    Prozac on the Couch: Prescribing Gender in the Era of Wonder Drugs,
             Jonathon Michel Metzl. Duke University Press, Durham, 2003 in
             American Journal of Psychiatry, November, 2004.
      32)    Sex and Gender by M. Diamond and A.Yates Child Psychiatric Clinics of
             North America W. B. Saunders, Philadelphia, Pennsylvania, 2004, 268 pp in
             Archives of Sexual Behavior April 2007 on line publication in Dec.2006
             at http://dx.doi.org/lQ.1007/slQ508-006-9114-7
       33)   Getting Past the Affair: A program to help you cope, heal, and move on—
             together or apart by Douglas K. Snyder, Ph.D, Donald H. Baucom, Ph.D,
             and Kristina Coop Gordon, Ph.D, New York, Guilford Press, 2007 in
             Journal of Sex and Marital Therapy,34:7-3, 2007
       34)   Dancing with Science, Ideology and Technique. A review of Sexual
             Desire Disorders: A casebook Sandra R. Leiblum editor, Guilford Press,
             New York, 2010. In Journal of Sex Research 2011.
       35)   What is more bizarre: the transsexual or transsexual politics? A review of
             Men Trapped in Men's Bodies: Narratives of Autogynephilic
             Transsexualism by Anne A. Lawrence, New York, Springer, 2014. In Sex
             Roles: a Journal of Research, 70, Issue 3 (2014), Page 158-160, 2014.
             DOI: 10.1007/sl 1199-013-0341-9
       36)   There Are Different Ways of Knowing. A review of: How Sexual Desire
             Works: The Enigmatic Urge by Frederick Toates, Cambridge, UK,
             Cambridge University Press, in Sexuality and Culture (2015) 19:407-409
             DOI 10.1007/sl2119-015-9279-0
       37)   The Dynamics of Infidelity: Applying Relationship Science to Clinical
             Practice by Lawrence Josephs, American Psychological Association,
             Washington, DC, 2018, pp. 287, $69.95 in Journal of Sex and Marital
             Therapyl0.1080/0092623X.2018.1466954, 2018. For free access:
             https://www.tandfonline.com/eprintAJgiIHbWbpdedbsXWXpNf/full
       38)   Transgender Mental Health by Eric Yarbrough, American'Psychiatric
             Association Publications, 2018, Journal and Marital & Sexual Therapy,
             https://doi.org/!0.1080/0092623X.2018.1563345 .




                                   Page 21 of 21
